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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

IN RE: COOK MEDICAL, INC, IVC FILTERS
MARKETING, SALES PRACTICES AND                                Case No. 1:14-ML-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                                   MDL No. 2570


This Document Relates to Plaintiff(s)

Yvette Cardoso

Civil Case #    1:21-cv-3123


                                 SHORT FORM COMPLAINT


       COMES NOW the Plaintiff(s) named below, and for Complaint against the Defendants

named below, incorporate The Master Complaint in MDL No. 2570 by reference (Document

213). Plaintiff(s) further show the court as follows:


      1. Plaintiff/Deceased Party:
          Yvette Cardoso

      2. Spousal Plaintiff/Deceased Party’s spouse or other party making loss of consortium
         claim:
          N/A

      3. Other Plaintiff and capacity (i.e., administrator, executor, guardian, conservator):
          N/A

      4. Plaintiff’s/Deceased Party’s state of residence at the time of implant:
          Florida
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    5. Plaintiff’s/Deceased Party’s state of residence at the time of injury:
       Florida

    6. Plaintiff’s/Deceased Party’s current state of residence:
       Florida

    7. District Court and Division in which venue would be proper absent direct filing:
       Florida Middle District Court - Tampa, FL

    8. Defendants (Check Defendants against whom Complaint is made):

              ✔       Cook Incorporated

              ✔       Cook Medical LLC

              ✔       William Cook Europe APS

    9. Basis of Jurisdiction:

              ✔       Diversity of Citizenship

                      Other:

    a. Paragraphs in Master Complaint upon which venue and jurisdiction lie:

       9 through 20

    b. Other allegations of jurisdiction and venue:



   10. Defendants’ Inferior Vena Cava Filter(s) about which Plaintiff(s) is making a claim

       (Check applicable Inferior Vena Cava Filters):

                      Günther Tulip® Vena Cava Filter

              ✔       Cook Celect® Vena Cava Filter

                      Gunther Tulip Mreye
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                     Cook Celect Platinum

                     Other:

   11. Date of Implantation as to each product:
       3/14/2016




   12. Hospital(s) where Plaintiff was implanted (including City and State):
       Northside Hospital & Heart Institute, St. Petersburg, FL




   13. Implanting Physician(s):
       Jean Delbrune MD




    14.Counts in the Master Complaint brought by Plaintiff(s):

              ✔      Count I:      Strict Products Liability – Failure to Warn

              ✔      Count II:     Strict Products Liability – Design Defect

              ✔      Count III:    Negligence

              ✔      Count IV:     Negligence Per Se

              ✔      Count V:      Breach of Express Warranty

              ✔      Count VI:     Breach of Implied Warranty

              ✔      Count VII:    Violations of Applicable      Florida         (insert State)
                     Law Prohibiting Consumer Fraud and Unfair and Deceptive Trade
                     Practices
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                      Count VIII: Loss of Consortium

                      Count IX:     Wrongful Death

                      Count X:      Survival

               ✔      Count XI:     Punitive Damages

                      Other:

                      Other:




   15. Attorney for Plaintiff(s):

       Fears Nachawati, PLLC – .HOO\&KHUPDFNDQGGibbs C. Henderson

   16. Address and bar information for Attorney for Plaintiff(s):

       5473 Blair Road, Dallas, TX, 75231

       .HOO\&KHUPDFN - Texas Bar No. 

       Gibbs C. Henderson - Illinois Bar No. 6314687

                                                  Respectfully submitted,

                                                  /s/ .HOO\&KHUPDFN
                                                  .HOO\&KHUPDFN
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                                                  Gibbs C. Henderson
                                                  Illinois Bar No: 6314687
                                                  ghenderson@fnlawfirm.com
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                                  CERTIFICATE OF SERVICE

                                  12/30/2021
       I hereby certify that on                                , a copy of the foregoing was served

electronically and notice of the service of this document will be sent to all parties by operation of

the Court’s electronic filing system to CM/ECF participants registered to receive service in this

matter. Parties may access this filing through the Court’s system.


                                                  /s/ .HOO\&KHUPDFN
                                                  .HOO\&KHUPDFN
